CaSe 2:17-cr-00690-.]S Document 3 Filed 12/14/17 Page 1 of 1 Page|D #: 14
U.S. Department of Justice

United States Attorney
Eastern Disz‘rict of New York

 

 

271 Cadman Plaza East

F. #2017R01195 central lslip, New York 11722
December 14, 2017

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The HoNoRABLE A. KATHLEEN ToMLINSoN b 3 1 .,? _K.
United States Magistrate Judge jr DEC 14 2"’\
Eastern District of New York ' f \ pp
100 Federal Plaza LONG_ \SL,AND Ov' F -‘ a

Central Islip, NY 1 1722

Re: United States v. Zoobia Shahnaz
Criminal Doeket No. 17-0690 (JS)

Dear Judge Tomlinson:

The government respectfully submits this letter to request that the Court order
that the case in the above-captioned matter be unsealed.

Respectfully submitted,

BRIDGET M. ROHDE
Acting United States Attorney

By: /s/
Artie McConnell
Assistant U.S. Attorney
(631) 715-7825

Enclosure

cc: Clerk of Court (by ECF)

